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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                    )       Case No.: 1:06 CR 125-26
                                             )
       Plaintiff                             )       JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )       ORDER ACCEPTING PLEA
ALBARO LOZA-ARANDA ,                         )       AGREEMENT, JUDGMENT AND
                                             )       REFERRAL TO U. S. PROBATION
       Defendant                             )       OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Vecchiarelli regarding the change of plea hearing and plea agreement of which

was referred to the Magistrate Judge with the consent of the parties.

       On May 9, 2006, the government filed a thirty-six count superseding indictment against

the Defendant Albaro Loza-Aranda and 23 co-defendants. Defendant Loza-Aranda was charged

with of Conspiracy to Smuggle Aliens into and within the United States, in violation of Title 8,

United States Code, Section 1324(a)(1)(A)(v)(I) and punishable under Title 8, United States

Code, Section 1324(a)(1)(B)(iii); Conspiracy to Commit Mail Fraud, Wire Fraud, Document

Fraud, and Structuring Financial Transactions, in violation of Title 18 United States Code,

Section 371; Aiding and Abetting, Bringing Aliens into the United States, in violation of Title 8,
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United States Code, Section 1324(a)(2) and Title 18, United States Code, Section 2; and Aiding

and Abetting Money Laundering, in violation of Title 18, United States Code, Section

1956(a)(1)(B)(i) and Section 2. On May 24, 2006, a hearing was held in which Defendant Loza-

Aranda, entered a plea of not guilty before Magistrate Judge David S. Perelman. On January 18,

2007, Magistrate Judge Vecchiarelli received Defendant Loza-Arana’s plea of guilty to counts

2 and 3of the superseding indictment and issued a Report and Recommendation (“R&R”)

concerning whether the plea should be accepted and a finding of guilty entered. Magistrate Judge

Vecchiarelli filed her R&R on January 18, 2007.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Loza-Aranda is found to be competent to enter a plea and to understand his constitutional rights.

He is aware of the charges and of the consequences of entering a plea. There is an adequate

factual basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Loza-Aranda is adjudged guilty of Count Two in violation of Title

8 United States Code, Section 1324(a)(1)(A)(v)(I) and Count Three in violation of Title 18

United States Code, Section 371.

       IT IS SO ORDERED.



                                             /S/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
